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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 DOUGLAS MARLAND, COSETTE                                    CIVIL ACTION
 RINAB, and ALEC CHAMBERS,
                  Plaintiffs,

                v.

 DONALD J. TRUMP, in his official                            NO. 20-4597
 capacity as President of the United States;
 WILBUR L. ROSS, JR., in his official
 capacity as Secretary of Commerce; and
 U.S. DEPARTMENT OF COMMERCE,
                      Defendants.

                                           ORDER

       AND NOW, this 30th day of October, 2020, upon consideration of Plaintiffs’ Motion for

a Preliminary Injunction (ECF No. 25), Defendants’ response thereto (ECF No. 26), the

Administrative Record (ECF Nos. 27, 28, & 29), Plaintiffs’ Reply in Support of their Motion

(ECF No. 30), and following a Hearing on Plaintiffs’ Motion on October 28, 2020, IT IS

ORDERED that the Motion is GRANTED.

       It is FURTHER ORDERED that Defendants Wilbur L. Ross, Jr., as Secretary of the

United States Department Commerce, the United States Department of Commerce, and their

officers, agents, servants, employees, attorneys, designees, and subordinates, as well as any

person acting in concert or participation with them, are hereby ENJOINED from enforcing the

“Identification of Prohibited Transactions to Implement Executive Order 13942 and Address the

Threat Posed by TikTok and the National Emergency with Respect to the Information and

Communications Technology and Services Supply Chain, 85 Fed. Reg. 60,061 (Sept. 24, 2020)

(“the Commerce Identification”).

       It is FURTHER ORDERED that the injunction shall take effect immediately and remain
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in effect during the duration of this action and through final judgment, absent reversal or

amendment by appellate order.

       The Court has considered the issue of security pursuant to Federal Rule of Civil

Procedure Rule 65(c) and determines that Defendants will not suffer any financial loss requiring

that Plaintiffs post a security bond.

                                                     BY THE COURT:


                                                     /s/Wendy Beetlestone, J.

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                                                     WENDY BEETLESTONE, J.




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